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 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                              )
 9   UNITED STATES OF AMERICA,                )   Case No.: 2:15-cr-00177-GEB
10                                            )
                  Plaintiff,                  )   DEFENDANT’S STIPULATION AND
11                                            )   [PROPOSED] ORDER
           vs.                                )
12                                            )   Date: October 27, 2017
     JASON MATECKI,                           )   Time: 9:00 a.m.
13                                            )   Judge: Garland E. Burrell, Jr.
14                Defendant.                  )
                                              )
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for September 29, 2017, is continued to October 27,
18   2017 at 9:00 a.m. in the same courtroom. Kevin Khasigian, Assistant United States
19   Attorney, and Thomas A. Johnson, Defendant’s attorney, agree to this continuance. The
20   PSR schedule is amended as follows:
21
22
     IT IS SO STIPULATED.
23
24
25   DATED: September 26, 2017                      By:    /s/ Thomas A. Johnson
                                                           THOMAS A. JOHNSON
26                                                         Attorney for Jason Matecki
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     DATED: September 26, 2017                      PHILLIP A. TALBERT
 1                                                  United States Attorney
 2                                            By:   /s/ Kevin Khasigian
                                                    KEVIN KHASIGHIAN
 3                                                  Assistant United States Attorney
 4   IT IS SO ORDERED.
 5
     Dated: September 27, 2017
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